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UNITED STATES COURT OF APPEALS
FOR THE
SECOND CIRCUIT

At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
3" day of February, two thousand twenty-five.

People of the State of New York,
ORDER
Plaintiff- Appellee,
Docket No. 24-2299
V.

Donald J. Trump,

Defendant - Appellant.

Appellant moves for a 28-day extension of time, to March 3, 2025, to file the reply brief.
The motion is unopposed.

IT IS HEREBY ORDERED that the motion is GRANTED.

For the Court:

Catherine O’ Hagan Wolfe,
Clerk of Court

